~ Case 9:16-cv-00759-FJS-ML Document 88-4 Filed 11/09/17 Page 1 of 3

  

* hn a aree :
STATE OF NEW YORK
OFFICE OF THE ATTORNEY GENERAL

ERIC T. SCHNEIDERMAN DIVISION OF STATE COUNSEL
ATTORNEY GENERAL LITIGATION BUREAU

October 25, 2016

VIA CM/ECF

Leo Glickman

Stoll, Glickman & Bellina LLP
Counsel for Plaintiff

475 Atlantic Avenue

3" Floor

Brooklyn, NY 11217

Re: Burks v. Stickney et al.,
NDNY 16-CV-00759 (FJS/DEP)

Dear Mr. Glickman:

Enclosed please find a Notice to take the deposition of your client in the above-
reference matter on December 14, 2016 at 10 a.m. at Elmira Correctional Facility.

Our deadline to confer to address the items in the Case Management Plan packet
is this Thursday, October 27", and to file a completed Case Management Plan is
November 10. Please phone me at your earliest opportunity to discuss. If the date we
have noticed to conduct your client’s deposition is not suitable, we can discuss an

alternative date at that time.
I look forward to hearing from you.
Sincerely,
Denise P. Buckley
Assistant Attomey General
Encl.

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Case 9:16-cv-00759-FJS-ML Document 88-4 Filed 11/09/17 Page 2 of 3

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

MATTIEU BURKS,
Plaintiff,
NOTICE OF
-against- DEPOSITION
CORRECTION OFFICER CHAD STICKNEY: 16-CV-0759
CORRECTION OFFICER NOLAN; CORRECTION
OFFICER SMITH; CORRECTION OFFICER PEPPER; FJS/DEP

SERGEANT J. CROSS; JOHN DOE “E” BLOCK
SERGEANT; SUPERINTENDENT STEVEN RACETTE,
SUPERINTENDENT MICHAEL KIRKPATRICK, JOHN
DOE SUPERVISOR IN CHARGE OF SECURITY #1,
JOHN DOE CORRECTION OFFICERS #1-25,
Defendants.

PLEASE TAKE NOTICE that on the 14" day of December, 2016 at 10:00 a.m.,
Defendants, Chad Stickney, Darwin Nolan, Donald Smith, Jr., Edward Pepper, John Cross,
Steven Racette, and Michael Kirkpatrick will take the deposition of Mattieu Burks (14-A-5477)
upon oral examination pursuant to the Federal Rules of Civil Procedure, before a notary public or
before some other officer authorized by law to administer oaths, at Elmira Correctional Facility,
or other facility deemed appropriate by the New York State Department of Corrections and
Community Supervision. The oral examination will continue from day to day or at an adjourned
date thereafter, until completed.

PLEASE TAKE FURTHER NOTICE that the deponent will be required to produce at the
deposition all documents relating to the allegations in the complaint.

Dated: Albany, New York
October 25, 2016

ERIC T. SCHNEIDERMAN

Attomey Gerteral of the State of New York
Attomey for Defendants Chad Stickney, Darwin
Nolan, Donald Smith, Jr., Edward Pepper, John
Cross, Steven Racette, and Michael Kirkpatrick
To:

Case 9:16-cv-00759-FJS-ML Document 88-4 Filed 11/09/17 Page 3 of 3

Leo Glickman

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By: s/ Denise P. Buckley

Denise P. Buckley

Assistant Attorney General, of Counsel

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